                                   Case 2:14-cv-06809-ER Document 1 Filed 12/01/14 Page 1 of 24
,CJs-aa ~aev ~ voa>                                                         CIVIL CQVER SHEET
"T'he JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of coup. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of
initiating the civil docket sheet. (SF,E INSTRUCTIONS ON THE REVERSE OF THG PORM.)

I. (a)    PLAINTIFFS                                                                               DEFENDANTS
          Earl Jones                                                                               Midland Funding, LLC
  (~)       County of Residence of First Listed                  Philadelphia, PA                                                                           San Diego, CA
            Plaintiff                                                                              County of Residence of First Listed Defendant
                                   (EXCEPT IN U.S. PLAINTIFF CASES)                                                                 (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                            NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
                                                                                                                 LAND INVOLVED.


~C)         Attorneys (Firm Name, Address, and Telephone Number)                                   Attorneys (If Known)

          Fred Davis, Esq. -Davis Consumer I~aw Firm, 500 Office Ctr                               Lawrence J. Bartel, Esquire, 2000 Market Street, Suite 2300, Philadelphia, PA
          Drive, Suite 400, Ft. Washington PA 19034 1-855-432-8475                                 19103
II. BASIS OF JURISDICTION (Place an "X" in One Box Only)                                  111. C.'i11GE1V~rilY VN' YK11VC:lYAL YAIt'1'1L~ J (Place An "X" in One Box for Plaintiff and
                                                                                                 (For Diversity Cases Only)                        One Box for Defendant)
❑ I. U.S. Government                 ~ 3. Federal Question                                                                 PTF DEF                                    PTF   DEF
        Plaintiff                          (ll.S. Government Not a Paity)                     Citizen of This State         ❑1 ❑1  Incorporated or Principal Place    ❑4    ❑4
                                                                                                                                   of Business in This State
❑ 2, I1.S. Government                ❑ 4. Diversity                                           Citizen of Another           ❑2       ❑2    Incorporated andPrincipal Place        ❑5         ❑5
         Defendant                                                                            State                                       of Business in Another State
                                        (Indicates Citizenship of Parties in Item III)
                                                                                                                           ❑3       ❑3    Foreign Nation                         ❑6         ❑6
                                                                                              Citizen of Subject of a

IV. NATURE OF SUIT (Place an "X" in One Box Onlvl
         CONTRACT                                             TORTS                                 FORFEITURE7PENALTY                   BAIVKRUI'TC;I'                     OTHERSTA'FU'TES
❑ 1 10 Insurance                      PERSONAL INJURY                 PF,RSONAL INJURY             ❑ 610 Agriculture                 ❑ 422 Appeal 28 USC 158         ❑ Q00 State Reapportionment
❑ 120 Marine                         p 310 Airplane                 ❑ 362 Personal Injury --       O 620 Other Food &Drug            ❑ 423 Withdrawal                p 410 Antitrust
❑ 130 Miller Act                     ❑ 315 Airplane Product                Med Malpractice         ❑ 625 Dnig Related Seizure               28 USC 157               Q 430 Banks and Banking
❑ 140 Negotiable Instrument                 Liability               ❑ 365 Personal Injury -              of Property 21 USC 881                                      ❑ 450 Commerce
❑ 150 Recovery of Overpayment        p 320 Assault, Libel &                Product Liability       ❑ 630 Liquor Laws                  RROPERTY'RIGEITS               ❑ 460 Deportation
     & Enforcement of Judgment               Slander                ❑ 368 Asbestos Personal        ❑ 640 R.R & Tnick                 ❑ 820 Copyrights                ❑ 470 Racketeer Influenced anc
❑ 151 Medicare Act                   ❑ 330 Federal                         Injury Product          D 650 Airline Regs                ❑ g30 Patent                            Coinipt Organizations
❑ 152 Recovery of Defaidted          Employers'                            Liability               ❑ 660 Occupational                ❑ g40 Trademark                 ~ 480 Consumer Credit
         Student Loans                      Liability                PF,RSONALPROPERTY                    Safety/Health                                              ❑ 490 Cable/Sat TV
         (Excl. Veterans)            ❑ 340 Marine                   ❑ 370 Other Fraud              ❑ (,90 Other                                                      ❑ 810 Selective Service
❑ 153 Recovery of Overpayment        ❑ 345 Marine Product           ❑ 371 TruBi in Lending                   LABOR                      SOCT,tT SECi?RiTl'           ❑ 850 Securities/Commodities/
        of Veteran's Benefits.              Liability               ❑ 380 Otlier Personal          ❑ 7~0 Fair Labor Standards                                                Exchange
                                                                                                                                     ❑ 861 HIA (1395ffj
❑ I60 Stockholder's Suits            ❑ 350 Motor Vehicle                  Property Damage                                                                            ❑ 87S Cusromer Challenge
                                                                                                           Act                       ❑ 862 Black Lung (923)
❑ 190 Other Contract                 p 355 Motor Vehicle            ❑ 385 Property Damage          ❑ 720 Labor/Mgmt. Relations                                                12 USC 3410
                                                                                                                                     ❑ 863 DIWC/DIWW
p 195 Contract Product Liability            Product Liability              Product Liability       ❑ 730 Labor/Mgmt. Reporting                                       ❑ g90 Other Statutory Actions
                                                                                                                                     (405(g))
❑ 195 Franchise                      ❑ 360 Other Personal                                                                                                            ❑ 891 Agricidtural Acts
                                                                                                          &Disclosure Act            ❑ 864 SSID Title XVI
                                            Injury                                                 ❑ 940 Railway Labor Act           ❑ 865 RSI (405( ))              O 892 Economic Stabilization Ac
                                                                                                   ❑.790 Other Labor Litigation       FEDERAL TAX SU17'S             ~ 893 Environmental Matters
     READ PROPERTY                       CIVI[. R[Gl3"I'S           P12ISONP;R PET17'IONS          ❑ 791 Empl. Ret. Ino.             p X70 Taxes (U.S.               ❑ 894 Energy Allocation Act
❑ 210 Land Condemnation              ❑ 441 Voting                   p 51U Motions to Vacate               Security Act               Plaintiff                       ❑ 895 Freedom of Information
❑ 220 Foreclosure                    ❑ 442 Employment                                                                                         or Defendant)                  Act
                                                                           Sentence
❑ 230 Rent, Lease &Ejectment         ❑ 443 Housing /                  Habeas Corpus:                                                 ❑ 871 IRS -Third Party          C1 900 Appeal of Fee Detenninatior
❑ 240 Torts to Land                          Accommodations         ❑ 530 General                                                             26 USC 7609                    Under Equal Access
❑ 245 Tort Product Liability         p 444 Welfare                  ❑ 535 Death Penalty                                                                                       to Justice
❑ 290 All Other Real Property        ❑ 445 Amer.                    ❑ S40 Mandamus &Other                                                                            p 950 Constitutionality of
                                     w/Disabililies—                ❑ 550 Civil Rights                                                                                        State Statutes
                                                Employment          ❑ 555 Prison Condition
                                     ❑ 446 Amer.
                                     w/Disabilities—
                                               Other
                                     ❑ 440 Other Civil Ri >hts
V. UKIGiN        (Place an "X" in One Aox Only)
                                                                                                                                                                                            to District   I
~~    Original     ~2       Removed from       ❑3                Remanded from           ❑4    Reinstated or       ❑5      Transferred from        6       MT;gais~tnrict     ❑7           ;e from
      Proceeding            State Court                          Appellate Court               Reopened                    another district    ~
                                                                                                                            S 8Ci                                                      auugwcu~
                     Cite the U.S. Civil Statute under which you are 61ing (Do not cite jurisdictional statutes unless diversity):
                     47 U.S.C. § 227, et se .and 1 S U.S.C. § 1692, et se .
VI. CAUSE OF ACTION
                     Brief description of cause:
                     Fair Debt Collection Practices Act
VII. REQUESTED IN   ~ CHECK IF THIS IS A CLASS ACTION DEMAND $ 3,500                                       CHECK YES only if demanded in complaint:
     COMPLAINT:        UNDER I=.R.C.P. 23                                                                  JURY DEMAND: ❑Yes            ~ No
VIII. RELATED CASES)
     IF ANY             See instructions)   JUDGE                                                        DOCKET NUMBER
DATE                                                                        SIGN TURE OF ATTORNEY OF RECORD
            November 31, 2014                                                              /~  ^'~
                                                                              lLum..._. ~I      Kn ..~-
FOR OFFICE USE ONLY

RECEIPT #                            AMOUNT                              APPLYING IFP                              JUDGE                               MAG. JUDGE
                               Case 2:14-cv-06809-ER Document 1 Filed 12/01/14 Page 2 of 24
,IS 44 Reverse (Rev. I I/04)

                         INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                                  Authority For Civil Cover Sheet
      The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleadings or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required
for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each
civil complaint filed. The attorney filing a case should complete the form as follows:
I.       (a) Plaintiffs —Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use only
the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then the official, giving
both name and title.
        (b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land condemnation
cases, the county of residence of the "defendant" is the location of the tract of land involved.)
         (c) Attorneys. Enter the firm name, address, telephone number, and attorney or record. If there are several attorneys, list them on an attachment, noting
in this section "(see attachment)":
II.     Jurisdiction. The basis of,jurisdiction is set forth under Rule 8(a), F.R.C.P., which requires that jurisdictions be shown in pleadings. Place an "X" in one
of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
United States plaintiff, (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment to the
Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes precedence, and
box 1 or 2 should be marked.
Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the citizenship of the
different parties must be checked. (See Section III below; federal question actions take precedence over diversity cases.)
III.    Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this section
for each principal party.
IV.     Nature of Suit. Place an "X" in the appropriate box. If the nature of suit cannot be determined, be sure the cause of action, in Section VI below, is
sufficient to enable the deputy clerk or the statistical clerks in the Administrative Office to determine the nature of suit. If the cause fits more than one nature of
suit, select the most definitive.
V,       Origin Place an "X" in one of the seven boxes.
Original Proceedings. (1) Cases which originate in the United States district courts.
Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441. When the petition
f'or removal is granted, check this box.
Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing date.
Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) Por cases transfe~~red under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or multidistrict
litigation transfers.
Multidistrict Litigation. (6) Check this box when a multidistrict case is transfereed into the district under authority of Title 28 U.S.C. Section 1407. When this
box is checked, do not check (5) above.
Appeal to District Judge from Magistrate Judgment. (7) Check this box for an appeal from a magistrate judge's decision.
VI.     Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional statutes
unless diversity.            Example:                U.S. Civil Statute: 47 USC 553
                                                     Brief Description: Unauthorized recektion of cable service
VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Demand. In this space enter the dollar amount (in thousands of dollars) being demanded or indicate other demand such as a preliminary injunction.
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.
VIII. Related Cases. This section of the JS 44 is used to reference related pending cases if any. If there are related pending cases, insert the docket numbers
and the corresponding judge names for such cases,
Date and Attorney Signature. Date and sign the civil cover sheet.
     Case 2:14-cv-06809-ER Document 1 Filed 12/01/14 Page 3 of 24




          IN THE UNITED STATES DISTRICT COURT
        FOR THE EASTERN DISTRICT OF PENNSYLVANIA
EARL JONES,
                              Civil Action No.
              Plaintiff,
    vs.

MIDLAND FUNDING, LLC,
                  Defendant.

                         NOTICE OF REMOVAL

      PLEASE TAKE NOTICE THAT, pursuant to 28 U.S.C. § 1441(b)

and 28 U. S.C. ~ 1331, Defendant, Midland Funding, LLC (hereinafter

"MF"), by and through its counsel, Marshall Dennehey Warner Coleman

8v Goggin, P.C., hereby removes the action captioned as Earl Jones v.

Midland Funding,, LLC, docket no. 002936-2014, as filed in the Court of

Common Pleas for Philadelphia County, Pennsylvania ("the Action"), to

the United States District Court for the Eastern District of Pennsylvania,

based upon the following:

      1.    On or about October 24, 2014 Plaintiff filed the Action in the

Court of Common Pleas for Philadelphia County, Pennsylvania. A true

and correct copy of Plaintiffs Complaint in the Action is attached hereto

as Exhibit "A."

      2.    MF first received notice of the Action on October 31, 2014,

when it was served with Plaintiffs Complaint.

      3.    Based on the foregoing, MF has timely filed this Notice of

Removal within thirty days of being served with the Complaint and


                                    1
     Case 2:14-cv-06809-ER Document 1 Filed 12/01/14 Page 4 of 24



within thirty days of the date that the Action was first removable. See 28

U.S.C. ~ 1446(b).

      4.    The Action is a civil action of which this Court has original

jurisdiction under 28 U.S.C. ~ 1331, and is one which may be removed to

this Court by Asset pursuant to the provisions of 28 U. S.C. ~ 1441(b), in

that Plaintiff has alleged that MF violated the Fair Debt Collections

Practices Act, 15 U.S.C. ~ 1692, et seq., thereby asserting claims that

arise under federal law.

      5.    In that the causes of action alleged by the Plaintiff arise from

the performance of obligations of the parties within Philadelphia County,

Pennsylvania, the United States District Court for the Eastern District of

Pennsylvania should be assigned the Action.

      6.    Pursuant to 28 U.S.C. ~ 1446(d), MF will file a copy of this

Notice of Removal with the Clerk of the United States District Court for

the Eastern District of Pennsylvania, will serve Plaintiff with copies of

this Notice of Removal and will file the Notice of Removal in the

Philadelphia County Court of Common Pleas.



      WHEREFORE, Defendant, Midland Funding, LLC notifies this

Court that this Action is removed from the Court of Common Pleas for

Philadelphia County, Pennsylvania to the United States District Court for

the Eastern District of Pennsylvania pursuant to the provisions of 28

U.S.C. §1331, and 1446.



                                    2
    Case 2:14-cv-06809-ER Document 1 Filed 12/01/14 Page 5 of 24




                             Respectfully submitted,

                            MARSHALL DENNEHEY WARNER
                            COLEMAN & GOGGIN, P.C.


                            Lawrence .N. Bartel, ESQUIRE
                            2000 Market Street, Suite 2300
                            Philadelphia, PA 19103
                            (215) 575-2780 / (215) 575-0856 (fl
                            Ljbartel@mdwcg.com
                            Attorneys for Defendant
                            Midland Funding, LLC


Dated: November 31. 2014




                                  3
    Case 2:14-cv-06809-ER Document 1 Filed 12/01/14 Page 6 of 24




          IN THE. UNITED STATES DISTRICT COURT
        FOR THE EASTERN DISTRICT OF PENNSYLVANIA
EARL JONES,
                               Civil Action No.
              Plaintiff,
    vs.

MIDLAND FUNDING, LLC,
                 Defendant

                     CERTIFICATE OF SERVICE

     I, Lawrence J. Bartel, Esquire, do hereby certify that a true and

correct copy of Defendant, Midland Funding, LLC's Notice of Removal was

served upon the below-listed counsel of record by regular mail on

December 1, 2014:

     Fred Davis, Esquire
     Davis consumer Law Firm, LLC
     500 Office Center Drive, Suite 400
     Ft. Washington, PA 19034
     Attorneys for Plaintiff
     Earl Jones

                             MARSHALL DENNEHEY WARNER
                             COLEMAN & GOGGIN, P.C.

                       By:   ~f              .~ oc~.~
                             Lawrence J. artel, ESQUIRE
                             Attorneys for Defendant
                             Midland Funding, LLC

Dated: November 31, 2014
Case 2:14-cv-06809-ER Document 1 Filed 12/01/14 Page 7 of 24




                EXHIBIT' "A"
                     Case 2:14-cv-06809-ER Document 1 Filed 12/01/14 Page 8 of 24


          ~our~ or common rieas or rni~aaeipnia Lounty                                                                   -~.:~            _.: , _.. _ , .                   ~ . , ....; -~ .~-            . _ . p•. _ , ..
                        Trial Division
                                                                                                                                                                                                                                i
                       Civil Cover Sheet                                                                                                                                             R ~. ~
   PLAINTIFF'S NAME
                                                                                                                         DEFENDANT'S NAME
                                                                                                                                                 ,:                                                                   ..r° `.
    EARL JONES
                                                                                                                           MIDLAND FUNpING LLC

   P~.gINTIFF'S ADDRESS
    2.728 W. HUNTINGDON ST                                                                                               DEFENDAN7'g ADDRESS
                                                                                                                           8875 HERO DRIVE—SUITE 200
    PHIT,A PA 19132
                                                                                                                           SAN DIEGO CA 92123


  PLAINTIFF'S NAME
                                                                                                                         DEFENDANT'S NAME



  PLAINTIFF'S ADDRESS
                                                                                                                         DEFENDANTS ADDRHSS




  PLAINTIFF'S NAME
                                                                                                                        DEFENDANTS NAME



 PLAINTIFF'S ADDRESS
                                                                                                                        DEFENDANT'S ADDRESS




 TOTAL NUM9ER OF PLAINTIFFS            TOTAL NUM6ER OF DEFENDANTS                                        COMf~NCEMENT OF ACT1aN
                 ~                                                1          j                          r ~
                                                                             Y~r                                        o"`'-,amt                               ❑Petition Action                 ❑ Notica of Appeal
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 ❑ More than $50,000.00                                                                                                                                                                          ~ Minors
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                                                                                                                                     ~~.k# ` _ 1i ~i~.
 STATUTORY BASIS FqR CAUSE OF ACTION        ~~+yrY ~ ~,~i~             ~~-r~ aF           ,Y~y      ny Y~,~~~+ i ~ ~
                                                                                                   -a                            ~F }      , ~~~:`~t v
                                                  .._                                                                                         ~
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 REI.A7ED PENDING CASES (LIST BY CASE CAPTION AND DOCKET
                                                         NUMBER)                                                                                                                    IS CASE SUBJECT TO
                                                                                                         ~~~                                                                        COORDINATION ORDERI
                                                                                                                                                                                                YE9         NO

                                                                                                 UCT 24 2014
                                                                                                            D. SAVAGE

TO THE P~tOTHONOTARY;
Kindly enter my appea~•auce on behalf of Plaintiff/Petitioner/Appellant: EARL ,TONES
Papers may be served at the address set forth below.

NAME OF PLAINTIFF'S/PETITIpNER'S/APPELLANT'S ATTORNEY                                                             ADDRESS
 FRIG E.        DAVIS                                                                                                   500 OFFICE CTF2 D12
                                                                                                                        STJITE                 400
PHONE NUMBER                             FAX NUMBER                                                                 FT.               WASHINGTON PA 19039
  (855)932-8975                           (855)935-9294


Sl1PREME COURT IDENTIFICATION N0.
                                                                                                                  E-MAIL ADDRESS
 93907                                                                                                              freddavis04@aol.com
SIGNATURE OF FILfNO ATTORNEY OR PARTY
                                                                                                                  DATE SUBMITTED
 FRED DAV.ZS
                                                                                                                    Friday,                           October           29,         2014,     7.2:56 pm

                                                          FINAL COPY (Approved by the rrothonotary c:ierK}
                 Case 2:14-cv-06809-ER Document 1 Filed 12/01/14 Page 9 of 24

LISTED ES7A URDENADO COMPARECER EN Arbitration Hearin 18 0 JFK Blvd. 5th fl. at
                                                                                                   X9:15 AM - 47/24/2015
 You must still comply with the notice below. LISTED TbgAVIA DEBE C JPL.IR CON El~
                                                                                            AVISO PARR DEF~IVDERSE,
 This matter will be heard by a Board of Arbitrators at the time, date and place specified but, if one or
                                                                                                          more parties is not present
at the hearing, the matter may be heard at the same time and date befa~e a judge of the court without
                                                                                                          the absent party qr parties.
1"hera is no right to a trial denovo on a~peai froir~ a decision entered by~Jucige.
               Fred Davis, Esquire                                A7:"I'O     EY k`~R PLAIN~`I~'F           ~~~~~ ~~~~~.
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               DAV~S CpNSUMER LAW FIRM                            THIS I AN ARBITkATION ~
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               500 OFFICE CTR DR-STE 400                                                              ~ `T:: r,~;,
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               FT. WASHINGTON, PA 19034                           HEA                      ~, ~
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               (T} 1-8 SS -432-8475/(F} L-$55-435-9294                                       ~'~ ~,          '. f`
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               fdavis(c~usacreditia er.corn                                                         ~--
               EARL JONES                                        GOUR~OF COMMON PLEAS
               2728 W. Huntingdon St                             1'HS~,A i ELPHIA COUNTY
               PEZiIa, PA
               19132

               Plaintiff                                          CIVIL ACTION
               v.

               MIDLAND FUNDING, LLC                                           NO..
               8875 Aero Dr.-Ste 200
               San Diego, CA
               92123

               Defendant


                                                   NOTICE TO DEF
                                                      CODE: 1900

                  You have been sued in court. If you wish to defen~         against the claizxis set forth in the
                 following gages, you must take action witiiiil twent        (20) days after this complaint and
               notice are served, by entering a written appearance p        rsonall.y or by attorney and filing in
                  wx'iting with the court your defenses or objections       ~ the claims set forth against you.
                     You are warzied that if you fail to do so tkae case    nay proceed without you and a
                judgment may be entered agaz~ist you by the court U         thout further notice for any money
                claimed in the complaint or for any other clairzx o~' rE    ief requested by the plaintiff. You
                               may lose money ox property ar other r:       ;hts important to you.

                YOU SHOULD TAKE THIS ~'APER TO YOUR AWYER AT ONCE. IP YOU DO
                NOT HAVE A LAWXER UR CANN4T AFFOF ONE, GO TO QR TELEPHONE
               THE OFFICE SET FORTH BELOW TO BIND OL WHERE YOU CAN GET LEGAL
                                             HELP.




                                                                                                              Case ID: 141002936
Case 2:14-cv-06809-ER Document 1 Filed 12/01/14 Page 10 of 24




   PHILADELPHIA. COUNTY BAR ASSOCIATZO~f-LAWYER REFERRAL
                                                         & ~TFQ
                             SERVICE

                                Philadelphia Bar Asso ration
                               I1Q1 Market Stz•eet, lIt .door
                                      Phila, PA 19107
                                  Phone: (215) 238-6 00
                                    Faac: (215) 238-11 9

                                           AVISO
    La han demat~dada a usted en Ia Corte. Si usted iere defenclerse de estas
                                                                                 de estas
   demaz~das expuestas an las paginas signientes, us tiene veinte {20)
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  part3r de is fecha de Ia demanda y is notificacioii. ace falta ase~tar una
                                                                             cornparencia
 escrita o en pez~sona o con un abogado y entregar a Corte en forma
                                                                       escrita sus defensas
 o sus objeciones a Ias demandas ex~ contra de su pe ~na. Sea avisado
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    defxende, le carte tomara medidas y puede Conti it la demanda en
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  previo aviso o x~ati~cacion, Ademas, la Corte puE decidir a favor
                                                                       del deinandante y
   requiere que usted cumpla con todas Ias provisic s de esta demarz
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         perdez' dinero o sus propiedades a ostros de hos importances para
                                                                             usted.
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    VAYA EN PERSONA O LLAME FOR TELE ONO A LA OFICI
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                         SERVICIO DE REFERENC LEGAL,
                          CoIegio de Abogados de Pl
                             1l01 Market Street, 11t Floor
                                    Phila, ~'A 19107
                                Phone: (215) 238-6: 11,
                                 Fax; (215) 238-11.




                                                                                     Case ~D: 1410p2936
  Case 2:14-cv-06809-ER Document 1 Filed 12/01/14 Page 11 of 24




  Fred Davis, Esquixe
  Identification No. 93907                               AT~'ORNEY FOR PLAINTT~'P
  DAMS CONSUMER LAW FIRM
  500 OFFICE CTR DR-STE 400                           THIS IS AN ARBITRATION MATTER.
  FT. WASHINGTON, ~'A 19034                           ASSESSMENT OF DAMAGES HEAR
                                                                                  ING IS
  (T}1-855-432-8475/(F)1-855-435-929                  RE UESTED.
                                     4
  fdavis(c~usacreditlawyer com
  EARL JONES
  2728 W. Huntingdon St                             j CO~JR~' OF COMMON PLEAS
  Phila, PA
  1932                                                          E~;PHIA COUNT'

 Plaintiff

 v.

 MIDLAND FUNDING, LLC
 8$75 Aero Dr.,Ste 200
 San Diego, CA
 92123
                                                              ACTION
 Defendant


                                       COMPLAINT

                1.     Plaintiff, EARL JONES, is an dint individual citizen and legal

resident of the State of Pennsylvania, liviiag at 2728     . Htu~tingdon St St, Phila, Fa
19732.

               2.      Defenda~it, MIDLAND FUND 1G, LLC, is a business corporation

qualified to and regularly conducting business in, the `am~nonwealth of Pennsylvania,

witkx its legal residence and principal place of busine~ at 8875 Aero Dr.-Ste 200, San

Diego, CA 92I23. Defendant can be served at that ad

               3.     Plaintiff avers that at atl times           hereto, Defenda.ilt acted by

and through its authorized agents, servants, officexs, nd/or employees, including

Defendant, all of whom were acting within tI~e scope of tliei~• employment.




                                                                                            Case ID:.141002936
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                  4.      Jurisdiction oft~is court arises     •suant to 15 U.S.C. § 1692k(d),

  which states that such actions znay be brought and he.       before "any appropriate United
  States district court without regard to the amau~t in c      Aoversy, or in any other court of
  competent jurisdiction".

                 S.      Defendant regularly conducts ~ usiness in the State of Pennsylvania

 ar~d in the County of Philadelphia, therefore, personal jurisdiction is
                                                                            established.
                 6.      Venue is proper in Philadelphia County pursuant to Pent~.sylvarzia

 Rules of Civil T'rocedure 1006 and 2179.

                 7.      Declaratory relief is available ~         to 28 U.S.C. §§ 2201 ~d
 2202.

                                          PARTIES

                 8.     Plaintiff is a natui•nl person xes ding in Phila, 1'A.

                9.      Plaintiff is a "constuner" as th~t term as defined by 15 U.S.C, §

 1692a(3).

                10.     Defe~.dant, MIDLAND FUND             G, LLC, is a
company handling debt collection matters with head uai~ters located
                                                                    at 8875 Ae~~o Dr.-Ste
2Q0, San Diego, CA 92123.

                11,     Defendant is a debt collector a that term is defined by 15 U.S.G.

§ 1592a(6), and sought to collect a consumer debt fro Plainti
                                                              ff:
                l2.    Defendant acted tl~i•ough their gents, employees, officers,

members, directaxs, heirs, successors, assigns, princi als, trustee
                                                                    s, sureties, subrogees,
representatives, and insurers.




                                                                                           Case YD: 1410029~b
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                  13.     Ozx May 19, 2014, Defenda~st ]ed a lawsui
                                                                    t agaizisi
 Plaintifif in the ~'hiladelpllia Municipal
                                              Court. The su t sought damages of $1,325
                                                                                       .22 for
 an alleged default on a credit-card accoun
                                                t allegedly ~ pened o~~ October ] 4, 2004 azid
 originally ~e1d by "CITIBANK, N.A.". See
                                          Exhibits "A" and "B",
                 14.     Defendant contended that it pu chased file alleged
                                                                            debt     of
 $1,325.22 after the alleged original credito
                                                r, "CITI~ NK, N.A." charged off and
 assigned the debt to Defendault. See exhibit "B".

                 15.     On September 22, 2014, Defau t judgment was entez•e
                                                                                   d for P1ai~ltiff
in the Philadelphia Municipal Court. See Exhib "C"
                                              it
                16.     Plaintiff alleges and avers that efendant produced no credib
                                                                                     le
evidence that any accoL~.nt between Plaintiffttnd "CI BANK
                                                           N.A." aver existed, and
Defendant thus had no legal or contractual right to fil this suit or
                                                                     seek payment of this
alleged debt frq~ Plaintiff.

                X 7.    Piainti~'f further alleges and av rs that Defendant produced no

evidence that Plaintiff incurred any debt on any acco nt Iaeld by "CITIBANK, N.A.",

and thereby misrepresented the amount owed on the leged account.

                18.     Plaintiff further alleges and av rs that Defei~dan.t znisrepresez~ted

the legal status of the alleged debt by arguing that it    as az1 assignee and/or successor in

interest to "CITIBANK, N.A", and that Defendant fa'led to adduce sufficient evidence of

any credit agreement between Plaintift~a~d "CITIB          K, N.A,".




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                  19.     Plaintiff alleges and avers that efendant misrepresented the

  nature and legal status o~'tiie alleged debt because De endant's lawsuit to collect this

 alleged debt was time-barred by the four-yew' statute f limitations as imposed ~2
                                                                               by Pa.
 C.S. 5525(a).

                 20.      Defendant made or caused to e made numerous, offensive phone

 calls to Plaintiff and unrelated tk~ird-parties attemptin to ca~lect the aIJeged "debt",



                 2I,     The FDCl'A is a strict liabilitq tatate. Tavloz' v. Perrin,,Landry,

 deLauna~& Durand, 103 F.3d 1232 (StI1 Cir. 1997). "Because the Act impose
                                                                           s strict
 liability, a consumer need not show intentional condi t Uy the debt
                                                                     caIlectar to be
 entitled to damages." Russell v. E„~i,ufax A.R.S., 74 . 3d 30 (2d Cir.
                                                                        1996); see also
Geaz•zn~`
        v. Check Brokerage Corp. 233 F.3d 469 (7t Cir. ?000) (holding iininte7
                                                                               ~tional
misrepresezxtatiaii of debt collector's legal status viol ted FDCPA); Clomo
                                                                            n v. Jackson,
988 F, 2d 13I4 (2d Cir, 1993).

                 22,    The FDCPA is a remedial stet te, and therefore must be constru
                                                                                       ed
liberally in favor o#'the debtor. Spz•inkte v. SB8cC        472 F. Supp. 2d 1235 (W.D.
Wash. 2Q06). The remedial nature of the FDCPA               es that counts interpret it
Iiberally. Claxk v. Capital Credit &Collection Sery         Inc., 4b0 F. 3d 1162 (9th Cir.
2406). "Because the FDCPA, like the Truth in Lens           Act (TI~,A) X 5 U.S.0 §1601 et
seq., is a remedial statute, it should be construed lib    y i~1 favor of t~.e consumer."
Johnson v. Riddle, 305 F, 3d lld7 (10th Cir. 2002).

               23.      Tlxe ~DCPA is to be interoret     i~ accordance with the "least
sophisticated" consumer standard.                         Bux~eauL Inc.. 760 F.2d 1168 (11th




                                                                                          Case ID: ~ 41002936
 Case 2:14-cv-06809-ER Document 1 Filed 12/01/14 Page 15 of 24




  Cir. 1985); Grazian.a v. I~arrisoi~, 950
                                           F, 2d 107 (3`d iz~. 199I); Swanson v. Southe
                                                                                        n7
  Oregon Czedit Service Inc , 869 F.2d 1222
                                            (9th Cir. 988). The FDCPA was nat "made
 for the protection of experts, but fox the public
                                                     -that ast multinide which includes the
 ignorant, the unthiniting, and the credulous,
                                                 and the f ct that a False statement maybe
 obviously false to those wk~o are trained and
                                                  experien ed does not change its character,
 nor take away its power to deceive others less
                                                experi raced." Id. The Ieast sophisticated
 consurz~er standard serves a duaX puu~ase in that it
                                                        e ures protection of all cansu~ners,
 evezl naive and trusting, against deceptive col~eetion
                                                              ractices, and pxotects collectors
 against liability for bizarre or idzasyncratic i~~terpreta
                                                              ions of collection notices, Clo~non,
988 F. 2d at 1318.

                                            COUNTI
                                ~i7

                 24.     7n its actions to collect a dispu ed debt, Defendant violated The

FT~CPA in one oz~ more of the following ways.

                         a.      Harassing, oppressing r abusing Plaintiff in connectiozx

with the collection of a debt in violation of I5 U.S.C. § 1692d.

                        b.       Using znis~epresentatxo sox deceptive means to collect a

debt in violation of 1S U.S.C. § 1692e(10).

                        c.       Using unfair or uncoi~s ionable means to collect a debt in

violation of IS U.S.C. §I692f.

                        d.        attempting to collect a amount not authorized by contract

or taw in vioiatzon of 1S U.S.C. §1692f.

                        e.      By acting in an otherw~se deceptive, unfair and




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    Case 2:14-cv-06809-ER Document 1 Filed 12/01/14 Page 16 of 24




     unconscionable rnai~ner and failing to comply wit13 t~ ~'DCPA.

                     WHEREFORE, Plaintiff, EARL JON            respectfully prays for a
     judgment as follows:

                            a.     All actual              y damages suffered pursuan# to 1 S
         U.S.C. § 1692k(a)(1);
r
                            b.     Statutory damages of $ 1,000.00 for each violation of the
f


     FDCPA pursuant to 15 U.S.C. § 1G92k(a)(7~)(A};

                            c.     All reasonably attorney ' fees, witness fees, court costs and

        other litigation casts incurred by PIaiuti~pursuan to 15 U.S.C. § 1693k(a)(3);
                                                                                       and
     Az~y othet~ relief deemed appropriate by thi~~ Honorab. Court.



                            DAMS CONSUME LAW F


                    gy:
                          Fred Davis-PA ID# 9'3907
                          Attorney far Plainti~'~', EARL J NES
                          500 Office Center Dive-Suite 00
                          Ft. Washington, PA ` 19034
                          Tel —1-855-432-8475/Facsinu e-1-855-435-9294
                          Email: £davis(cr~,usacr~ditlawve'.com




                                                                                          Case TD: 141002936
       Case 2:14-cv-06809-ER Document 1 Filed 12/01/14 Page 17 of 24




                                       PHILADELPHIA MLJNICI SAL COURT
                                      FIRST JITDICFAL DTSTRiCT OF' P NNSY[.VnMA
        ~                            1.339 Chestnut Street, 10th Floor, Pliilad IplSia, PA 19107
 '                         Marsha H. Neifield, President Jadge       Pau icia . ivicDermoa, Deputy Court AdmiuisU~ator

                                                                   # SC-19-05-19-5279
   ~ an     un ng, LLC                                             EARL JON S
  8675 ~±ero Drive Suite 200                                       2728 w   ntingdon st
  San Diego, CA 92123                                              philadel hia, PA 19132




                 DANIEL 7. SANTUCCL
                                                          Address &    Z INT RNATIONAL PI,A2A 5TH FLOQA
                                                                       PHIL pELPHZP., PA 1911
     Plaintiff/Attorney                                   Phone        800-265-8825
     Attorney f#       092800


                                                          ORDER
            AND NQW, to wit this                   22nd      day of                 September            upon       2014
considerataoia of the above captioned complaint, zt is herehy o •de~•ed anct decreed that the above
                                                                                                    captioned
case be marked as follows;




Judgment for Defendant by Default,




                          r ~~~               ~~            e~G 4                           ~„



                                                      ~Y THE COUR



                                                                                                              .r.

                                                                                                                           s i ~o~iuvron


                                                                                                                     Case ZD: 141002936
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                                                                Verification
           Mary Pikkaraine, whose busuzess address is Id IvXcleland
                                                                                             Suite I01, St. Claud, MN
           56303, certifies and says;

           l. Iaxz~ an, officer for MIDLAND FUNDIS~TG L~,C
                                                                     and have access to pertinent accour►t
           records for Midland Credit Management, Tsia; ("MCM"), servicer
                                                                                of this account on behalf
           of pI~intiff. Z am a competent person over eighteen year of age, and make
                                                                                          the statemezzts
           herein based upon personal lmowiedge of those account acords maintaine
                                                                                         d an plaintiff
           behalf. Plaintiff is the curxent owner of, andlox successa to, the ubligatian
                                                                                          sued upon,
           and was assigned ali the rights, title and interest to defer t~ CITIBANK,
                                                                                          N.A. aacaunx
                                  7689 (MCM Number 5560078771) (~ereiz~aftex "the account").Ihave
           access to and have reviewed t~~ records pertauung to the accotant and am authorize
                                                                                                   d to make
           this verification on pJaintiff~ behalf,

          2.    used upon my review of the business records: 1) efendar►t(s) opened the CI7'IBANK,
          N.A. account an 2004-10-14; 2) the last payment posted o the account on 2011-09-10; and 3)
          the account was charged nfF on 2011-12-22.

          3.    The business recozds show that the defendants) o                        a balaazce of $1325.22 as of
           2014-04-28.

         7 certify under penalty of perjury that the foregoing state                     are ixue and correct 't'k~e
          undersigned understands that the statements thexein are                        subject to the penalties of l8
         .Pa.GS. §4904 zelating to unsworn falsification to authc
                               MAY d~ ~ ~0~1~
             ate                                                 /~ ~                    0

         CA117
         Midland Funding, LLC




                                                                                    n




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                                                                                                          AFFREGORD


                                                                                                                                 Case ID: t~1402936
                                 Case 2:14-cv-06809-ER Document 1 Filed 12/01/14 Page 19 of 24

Bartel, Lawrence J.

From:                                                 Tanya Flores [Tanya.Flores@MCMCG.COM]
Sent:                                                 Friday, November 21, 2014 12:59 PM
To:                                                   Schwartz, Andrew M.
Cc:                                                   Kenneth Proctor
Subject:                                              Jones, Earl -case assignment - 001-2014-03315
Attachments:                                          Complaint Letter -Jones, Eari - Cert Mail 10312014.pdf

Importance:                                           High


Andrew:

We would like to assign the above matter to your firm for handling. For your review, I have attached the complaint filed
in the Court of Common Pleas of Philadelphia County. I believe we are past our response date and will need you to
contact opposing counsel to request an extension. Once you have cleared conflicts, 1 will forward you the account
notes.

Thanks,

Tanya




 t~r~e 3r~For~n~f~tinr~ ct;+~t~ir~r d ita tf~i:, c'-n~aii mc;~~~r~~, inr.€ix~~ing aEt.azahrr~e~34s (<:s~!E~;cfiu~ly r~~terrer! tt> a5 °lnF~r~rr<~tiorr"}< i~ ~tr~ict(y cot~fider~i;~! end ~rapr~i~:E.arY, ~n~ifnr
~r~ivi3~;~e~d. ~T~his ir~fiarn~ra9inn i~ ir~t~~r7~r-.'d only ftsr~ thr~ ~~~E~rsorr~! s~n~9 co~rficie~ntia! i~se of Pk7t; ri:ci~yii~rrt(~j Warned ak~ove. 1"lay Infarrnafion ccsntain~il i~, phis errtaii should
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r~+r:is, or by 9.~:(c~~`3<~rx: ~,a. tS77i ~6.SIi-~':iY,1, ~nci de~lc~t.,, ti7~; oric~it,al rne,:;ag~:.
               Case 2:14-cv-06809-ER Document 1 Filed 12/01/14 Page 20 of 24
                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

                        CASE MANAGEMENT TRACK DESIGNATION FORM
EARL JONES                                                           CIVIL ACTION


                         v.


MIDLAND FUNDING, LLC

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on the
plaintiff and all other parties, a case management track designation form specifying the track to which
that defendant believes the case should be assigned.


SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

(a)      Habeas Corpus-Cases brought under 28 U.S.C. §2241 through §2255.                           ( )

(b)      Social Security-Cases requesting review of a decision of the Secretary of Health
         and Human Services denying plaintiff Social Security Benefits.                             ( )

(c)       Arbitration-Cases require to be designated for arbitration under Local Civil Rule 53.2.   ( )

(d)       Asbestos-Cases involving claims for personal injury or property damage from
          exposure to asbestos.                                                                     ( )

(e)       Special Management-Cases that do not fall into tracks (a) through (d) that are
          commonly referred to as complex and that need special or intense management by
          the court. (See reverse side of this form for a detailed explanation of special
          management cases.)                                                                        ( )

(~        Standard Management--Cases that do not fall into any one of the other tracks.             (X)


                                                                            Defendant, Midland
 November 31, 2014                                     ~_                     Funding, LLC
 Date                                       Atto y-at-law                      Attorney for
                                           Lawrence J. Bartel,
                                                Esquire.

                                                                                   o,mdwcg com
                                                                          Libartelna
 (215) 575-2780                              (215) 575-0856
 Telephone                                    FAX Number                      E-Mail Address

(Civ.660) 10/02
551629
             Case 2:14-cv-06809-ER Document 1 Filed 12/01/14 Page 21 of 24
                            Civil Justice Expense and Delay Reduction Plan
                           Section 1:03 -Assignment to a Management Track
        (a)      The clerk of court will assign cases to tracks (a) through (d) based
on the initial pleading.

        (b)     In all cases not appropriate for assignment by the clerk of court to
tracks (a) through (d), the plaintiff shall submit to the clerk of court and serve with the
complaint on all defendants a case management track designation form specifying that
the plaintiff believes the case requires Standard Management of Special Management.
In the event that a defendant does not agree with the plaintiff regarding said designation,
that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a case management track designation form specifying
the track to which that defendant believes the case should be assigned.

       (c)     The court may, on its own initiative or upon the request of any party,
change the track assignment of any case at any time.

       (d)     Nothing in this Plan is intended to abrogate of limit a judicial officer's
authority in any case pending before that judicial officer, to direct pretrial and trial
proceedings that are more stringent than those of the Plan and that are designed to
accomplish cost and delay reduction.

        (e)    Nothing in this Plan is intended to supersede Local Civil Rules 3 or 7,
or the procedure for random assignment of Habeas Corpus and Social Security cases
referred to magistrate judges of the court.

                         SPECIAL MANAGEMENT CASE ASSIGNMENTS
                         (See § 1.02(e) Management Track Definitions of the
                           Civil Justice Expense and Delay Reduction Plan)

Special management cases will usually include that class of cases commonly referred to as"complex
litigation" as that term has been used in the Manuals for
Complex Litigation. The first manual was prepared in 1969 and the Manual for Complex
Litigation Second, MCL 2d was prepared in 1985. This term is intended to include cases
that present unusual problems and require extraordinary treatment. See §0.1 of the first
manual. Cases may require special or intense management by the court due to one or
mare of the following factors: (1) large number of parties; (2) large number of claims or
defenses; (3) complex factual issues; (4) large volume of evidence; (5) problems locating
or preserving evidence; (6) extensive discovery; (7) exceptionally long time needed to
prepare for disposition; (8) decision needed within an exceptionally short time; and (9)
need to decide preliminary issues before final disposition. It may include two or more
related cases. Complex litigation typically includes such as antitrust cases; cases
involving a large number of parties or an unincorporated association of large
membership; cases involving requests for injunctive relief affecting the operation of large
business entities; patent cases; copyright and trademark cases; common disaster cases
such as those arising from aircraft crashes or marine disasters; actions brought by individual
stockholders; stockholder's derivative and stockholder's representative actions;
class actions of potential class actions; and other civil (and criminal) cases involving
unusual multiplicity or complexity of factual issues. See §0.22 of the first Manual for
Complex Litigation and Manual for Complex Litigation Second, Chapter 33.

551629
                          Case 2:14-cv-06809-ER Document 1 Filed 12/01/14 Page 22 of 24
                                                                   UNITED STATES nISTRICT COURT

FQR THE EASTERN DISTRICT OF PENNSYLVANIA —DESIGNATION FORM to be used by counsel to indicate the category of the case for the purpose of
assignment to appropriate calendar.

Address Of Pl3itlttff: Earl Jones c/o Fred Davis, Esq. -Davis Consumer Law Firm, 500 Office Ctr Drive, Suite 400, Ft. Washington PA 19034 1.855-432-8475

Address of Defendant: Midland Funding, LLC c/o Lawrence J. Bartel, Esquire 2000 Market Street, Suite 2300 Philadelphia, PA 19103

Place of Accident, InCidCnt Or Tian58CtiOi1: Philadelphia County, Pennsylvania
                                                                            (Use Reverse Side For Additional Spuce)

Does this civil action involve a nongovernmental corporate party with any parent corporation and any publicly held corporation owning 10% or more of its stock?

  (Attach two copies of tl~e Disclosure Statement Forni in accordance with Fed.R.Civ.P. 7.1(a))                                                   Yes ~ No


Does this case involve multidistrict litigation possibiliCies'?                                                                                   Yes ~ No Q✓
RGI.ATED CASE, IF ANl':
Case Number:                                            lodge                                                     Date Terminated:


Civil cases are deemed related when yes is answered to any of the following questions:

1. Is this case related to property included in an earlier numbered suit pending or within one year previously terminated action in this court?

                                                                                                                                Yes ~ No ❑✓
2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit pending or within one year previously tei7ninated
   action in this cows?

                                                                                                                                Yes ~ No ❑✓
3. Does this case involve the validity or infringement of a patent already in suit or any earlier numUercd case pending or within one year previously

    terminated action in this court?                                                                                                              Yes ~ No ~✓

4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights case filed by the same individual?

                                                                                                                                                  Yes ~ No ❑✓

CIVIL: (Place ✓ in ONE CATEGORY ONLY)
A. Federal Q:iestion Cases:                                                                                           B. Diversit~~ J:n~isdiction Cases:
 1. ~ Indemnity Contract, Marine Contract, and All Other Contracts                                                    1. ❑Insurance Contract and Other Contracts
 2. ❑ FELA                                                                                                            2. ❑Airplane Personal Injury
 3. ❑Jones Act-Personal Injury                                                                                        3. ❑Assault, Defamation
 4. ❑Antitrust                                                                                                        4. ❑Marine Personal Injury
 5. ❑Patent                                                                                                           5. ❑Motor Vehicle Personal Injury
 6. ❑Labor-Management Relations                                                                                       6. ❑Other Personal Injury
                                                                                                                                                           (Please specify)

 7. ❑Civil Rights                                                                                                     7. ~ Products Liability
 8. ❑Habeas Corpus                                                                                                    8. ~ Products Liability —Asbestos
 9. ❑Securities Acts) Cases                                                                                           9. ~ All other Diversity Cases
10.0 Social Security Review Cases                                                                                                                          (Please specify)

11.~✓, All other Federal Question Cases
          (Please specify)
                                                                          ARBITRATION CERTIFICATION
                                                                                (Check Appropriate Category)
I Lawrence J. Bartel                                                 ,counsel of record do hereby certify:
       Pursuant to Local Civil Rule 53.2, Section 3(c)(2), that to the best of my knowledge and belief, the damages recoverable in this civil action case exceed the sum of
$ 150,000.00 exclusive of interest and costs;
        Relief other than monetary damages is sought.


DATE' November 31, 2014                              Lawrence J. Bartel                                                                          94006
                                                                  Attorney-at-Law                                                                        Attorney I,D.#
                                            NOTE: Atrial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.


1 certify that, to my knowledge, the within case is not related to any case now pending or within one year previously terminated action in this court
except as noted above.


DATE: November 31, 2014                              Lawrence J. Bartel                                                                          94006
                                                                  Attorney-at-Law                                                                     Attorney I.D.#
CIV. 609 (C/08)
      Case 2:14-cv-06809-ER Document 1 Filed 12/01/14 Page 23 of 24


                                                                                                   APPENDIX G

                           UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF PENNSYLVANIA

EARL JONES

             V.                                                                 Civil Action
                                                                                No:
MIDLAND FUNDING, LLC

                              DISCLOSURE STATEMENT FORM

Please check one box:

             The nongovernmental corporate party,
              in the above listed civil action does not have any parent corporation and
             publicly held corporation that owns 10% or more of its stock.

a            The nongovernmental corporate party, MIDLAND FUNDING, LLC
              in the above listed civil action has the following parent corporations) and
             publicly held corporations) that owns 10% or more of its stock:

             Encore Capital Group, Inc., apublicly-traded corporation, owns 10% or more of Midland Funding, LLC's stock




  ll 31 (y
      Date                                                            Signature

                               Counsel for: MIDLAND FUNDING, LAC


Federal Rule of Civil Procedure 7.1 Disclosure Statement
     (a)    WHO MUST FILE; Co►vrErvTs. A nongovernmental corporate party must file
            two copies of a disclosure statement that:
            (1)    identifies any parent corporation and any publicly held corporation
                   owning10% or more of its stock; or

             (2)      states that there is no such corporation.

      (b) TinnE To Fi~E; SUPPLEMENTAL FILING. A patty t1lUSt:
              (1)    file the disclosure statement with its first appearance, pleading,
                     petition, motion, response, or other request addressed to the court;
                     and
              (2)    promptly file a supplemental statement if any required information
                     changes.
      Case 2:14-cv-06809-ER Document 1 Filed 12/01/14 Page 24 of 24


                                                                                                      APPENDIX G

                              UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF PENNSYLVANIA

EARL JONES

                V.                                                                  Civil Action
                                                                                    No:
MIDLAND FUNDING, LLC

                                 DISCLOSURE STATEMENT FORM

Please check one box:

                The nongovernmental corporate party,
                 in the above listed civil action does not have any parent corporation and
                publicly held corporation that owns 10% or more of its stock.

                The nongovernmental corporate party, MIDLAND FUNDING, LLC
                 in the above listed civil action has the following parent corporations) and
                publicly held corporations) that owns 10% or more of its stock:

                Encore Capital Group, Inc., apublicly-traded corporation, owns 10% or more of Midland Funding, LLC's stock




  ~~ 3 l t ti                                                      ~CU,vt-~v4~.
       Date                                                           Signature

                                  Counsel for: MIDLAND FUNDING, LLC


Federal Rule of Civil Procedure 7.1 Disclosure Statement
     (a)    WHO MUST FILE; CorvTENTs. A nongovernmental corporate party must file
            two copies of a disclosure statement that:
            (1)    identifies any parent corporation and any publicly held corporation
                   owning10% or more of its stock; or

                (2)     states that there is no such corporation.

      ~b~ TIME TO FILE; SUPPLEMENTAL FILING. A pally CT1USt:
                (1)     file the disclosure statement with its first appearance, pleading,
                        petition, motion, response, or other request addressed to the court;
                        and
                (2)     promptly file a supplemental statement if any required information
                        changes.
